Case 5:17-cv-00825-GTS-DEP Document 1-1 Filed 07/26/17 Page 1 of 14



                                                       5:17-CV-825 (GTS/DEP)




               EXHIBIT A
      Case 5:17-cv-00825-GTS-DEP Document 1-1 Filed 07/26/17 Page 2 of 14


SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF ONONDAGA

Charles Valentine, Bertha Holloway


                              Plaintiff/Petitioner,
                                                               Index No.   2017EF2762
            -against-
Allstate Indemnity Company, Allstate Vehicle and
Property Insurance Company, Allstate Insurance
                             Defendant/Respondent.

                        NOTICE OF COMMENCEMENT OF ACTION SUBJECT
                             TO MANDATORY ELECTRONIC FILING

PLEASE TAKE NOTICE that the matter captioned above has been commenced as an electronically
filed case in the New York State Courts Electronic Filing System ("NYSCEF") as required by CPLR
§ 2111 and Uniform Rule § 202.5-bb (mandatory electronic filing). This notice is being served as
required by that rule.



NYSCEF is designed for the electronic filing of documents with the County Clerk and the court
and for the electronic service of those documents, court documents, and court notices upon
counsel and unrepresented litigants who have consented to electronic filing.


Electronic filing offers significant benefits for attorneys and litigants, permitting papers to be
filed with the County Clerk and the court and served on other parties simply, conveniently, and
quickly. NYSCEF case documents are filed with the County Clerk and the court by filing on the
NYSCEF Website, which can be done at any time of the day or night on any day of the week. The
documents are served automatically on all consenting e-filers as soon as the document is
uploaded to the website, which sends out an immediate email notification of the filing.



The NYSCEF System charges no fees for filing, serving, or viewing the electronic case record, nor
does it charge any fees to print any filed documents. Normal filing fees must be paid, but this
can be done on-line.



Parties represented by an attorney: An attorney representing a party who is served with this
notice must either: 1) immediately record his or her representation within the e-fiied matter on
the NYSCEF site; or 2) file the Notice of Opt-Out form with the clerk of the court where this action
is pending. Exemptions from mandatory e-fi!ing are limited to attorneys who certify in good faith
that they lack the computer hardware and/or scanner and/or internet connection or that they
lack (along with all employees subject to their direction) the operational knowledge to comply
with e-filing requirements. [Section 202.5-bb(e)]


Parties not represented by an attorney: Unrepresented litigants are exempt from
efiling. They can serve and file documents in paper form and must be served with
documents in paper form. However, an unrepresented litigant may participate in efiling,


                                             Page 1 of 2                                  EFM-1
         Case 5:17-cv-00825-GTS-DEP Document 1-1 Filed 07/26/17 Page 3 of 14




For information on how to participate in e-filing, unrepresented litigants should contact the
appropriate clerk in the court where the action was filed or visit
www.nvcourts.aov/efileunreDresented. Unrepresented litigants also are encouraged to visit
www.nvcourthelD.QOv or contact the Help Center in the court where the action was filed. An
unrepresented litigant who consents to e-filing may cease participation at any time. However,
the other parties may continue to e-file their court documents in the case.


For additional information about electronic filing and to create a NYSCEF account, visit the
NYSCEF website at www.nvcourts.aov/efile or contact the NYSCEF Resource Center (phone: 646-
386-3033; e-mail: efilefSnycourts.aov).



Dated: 06/30/2017




MARTIN ANTHONY LYNN
Name

Lynn Law Firm, LLP
Firm Name

101 South Salina Street, Suite 750
Address

Syracuse, NY 13202
City, State, and Zip

(315) 474-1267
Phone

mlynn@lynnlaw.com
E-Mail


         Allstate Indemnity Company, 3075 Sanders Road, Suite HIE, Northbrook, XL 60062-7127
To:
         Allstate Vehicle and Property Insurance Company, 3075 Sanders Road, Suite HIE,
                                          Northbrook, IL 60062-7127

         Allstate Insurance Company, 3075 Sanders Road, Suite HIE, Northbrook, IL 60062-7127




                                                                                          9/3/15


      Index # 2017EF2762                 Page 2 of 2                                   EFM-1
           Case 5:17-cv-00825-GTS-DEP Document 1-1 Filed 07/26/17 Page 4 of 14


                                                                                         INDEX NO. 2017EF27(2
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NYSCEF 30C. NO. 1                                                                 RECEIVED NYSCEF: 06/30/20!7
            STATE OF NEW YORK
            SUPREME COURT     COUNTY OF ONONDAGA


            CHARLES VALENTINE and
            BERTHA HOLLOWAY,                                               SUMMONS

                                               Plaintiffs,                 Index NO. 2017EF2762
                    -against-

            ALLSTATE INDFMMUY COMPANY-
            ALLSTATE VEHICLE AND PROPERTY
            INSURANCE COMPANY, and ALLSTATE
            INSURANCE COMPANY

                                               Defendants.


      O
                    Plaintiffs designate Onondaga County as the place of trial.
      5
      w         The basis of the venue is the loss location, 1857 49 Bellevue Ave., Syracuse,
           New York 13204.
      2
      m
                  YOU ARE HEREBY SUMMONED to answer the verified complaint in this action
      3    and to serve a copy of your answer, or, if the verified complaint is not served with this
      5
      cn   summons, to serve a notice of appearance on plaintiffs attorney within 20 days after the
      z    service of this summons, exclusive of the day of sen/ice (or within 30 days after the
      o
      t:   service is complete if this summons is not personally delivered to you within the State of
           New York) and in case of your failure to appear or answer, judgment will be taken by
      d
           default for the relief demanded in the verified complaint.
      CC
           Dated; June 30, 2017
      5           Syracuse, New York
      3
                                                                    Martin A. Lynn,
                                                                    LYNN LAW FIRM, LLP
                                                                    Attorneys for Plaintiffs
                                                                    M&T Bank Building, Suite 750
                                                                    101 South Salina Street
                                                                    Syracuse, NY 13202
                                                                    Telephone: (315)474-1267

           Defendants' Addresses:
           Allstate Indemnity Company, 3075 Sanders Road, Suite HIE, Northbrook, IL 60062-7127

           Allstate Vehicle and Property Insurance Company, 3075 Sanders Road, Suite HIE,
           Northbrook, IL 60062-7127

           Allstate Insurance Company, 3075 Sanders Road, Suite H1E, Northbrook, IL 60062-7127




                                                     1 of 11
             Case 5:17-cv-00825-GTS-DEP Document 1-1 Filed 07/26/17 Page 5 of 14



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NYSCEF DOC. NO. 1                                                                     RECEIVED NYSCEF: 06/30/20.7




             STATE OF NEW YORK
             SUPREME COURT     COUNTY OF ONONDAGA


            CHARLES VALENTINE and
            BERTHA HOLLOWAY,                                                 VERIFIED
                                                                             COMPLAINT
                                                  Plaintiffs,                Index No. 2017EF2762
                    -against-

            ALLSTATE INDEMNITY COMPANY,
            ALLSTATE VEHICLE AND PROPERTY
            INSURANCE COMPANY, and ALLSTATE
            INSURANCE COMPANY
      *

      O                                           Defendants.
      £


      D
      U             Plaintiffs, Charles Valentine and Bertha Holloway ("Plaintiffs"), by and through their

      1/1   attorneys, the Lynn Law Firm, LLP, complaining of the defendants, Allstate Indemnity
      5
      5     Company, Allstate Vehicle and Property Insurance Company, Allstate Insurance Company
      UJ


      o     ("Allstate") alleges:

     Q.

                                                            PARTIES
     Q:


    5       1.    At all relevant times herein, Plaintiffs were and are residents of Onondaga
    3
    | County, New York State.
     >


                   2.        Plaintiffs owned property located at or about 1847-49 Bellevue Avenue in the City

            of Syracuse, State of New York ("the Insured Premises").

                   3.        At all relevant times, and in January of 2016, the Insured Premises was insured

            with Allstate.

                   4.        At all relevant times herein, Allstate Vehicle and Property Insurance was and is

            an Illinois Corporation and is authorized to issue insurance policies for property and casualty in

            New York State.




                                                         2 of 11
                Case 5:17-cv-00825-GTS-DEP Document 1-1 Filed 07/26/17 Page 6 of 14



IFILEI : ONONDAGA COUNTY CLERK 06/30/2017 11:38 AM]                                           INDEX NO. 2017EF27ii2
NYSCEF       DOC. NO. 1                                                                RECEIVED NYSCEF: 06/30/20 .7




                     5.      At all relevant times herein, Allstate Indemnity Company was and is an Illinois

               Corporation and is authorized to issue insurance policies for property and casualty in New

               York State.

                     6.      At all relevant times herein, Allstate Insurance Company was and is an Illinois

               Corporation and is authorized to issue insurance policies for property and casualty in New

               York State.

                              At all relevant times herein, Allstate Vehicle and Property Insurance provided

         ^     insurance coverage for the Insured Premises.
      O

     s               8.      At ail relevant times herein, Allstate Indemnity Company provided insurance

     =        coverage for the Insured Premises.
     <
     o;

                     9.      At all relevant times herein, Allstate Insurance Company provided insurance
     3
     ;        coverage for the Insured Premises.
     >
     u
     a
                     10.     At all relevant times herein, Allstate was and is duly authorized to conduct
     c
     a.       insurance business in the State of New York.

                                                          THE FIRE
     §
     3               11.     On or about January 3, 2016, there was a sudden and unexpected fire loss at the

    i         Insured Premises (the "Loss").

                     12.     The Loss caused immediate and significant damage to the Insured Premises.

                     13.     Allstate estimates that the damage to the Insured Premises exceeds One

              Hundred Thousand Dollars ($100,000.00).




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                                                         3 of 11
            Case 5:17-cv-00825-GTS-DEP Document 1-1 Filed 07/26/17 Page 7 of 14


                                                                                             INDEX NO. 2017EF27112
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NYSCEF DOC. NO. 1                                                                   RECEIVED NVSCEF: 06/30/20 .7




                                                      INSURANCE

                  14.    At all relevant times herein, Allstate issued to its insured, Plaintiffs, an Insurance

           Policy. No. 943414782 ("the Policy").

                  15.    Plaintiffs' obtained the Policy through an Allstate agent. Plaintiffs did not mislead

           or otherwise provide false information to that agent in procuring insurance.

                  16.    The Policy was in full force and effect on January 3, 2016.

                  17.    At all relevant times. Plaintiffs paid all premiums due and owing in connection

           with the Policy, and was otherwise in compliance with all obligations in connection with
      O
      •c   coverage.

      3
      u
                                   ALLSTATE'S INVESTIGATION OF THE LOSS

                  18.    Following the Loss, Plaintiffs immediately notified Allstate, and requested
      s

     5     coverage for the damage to the Insured Premises.
     w
     u
      K           19.    Allstate was permitted access to the Insured Premises to inspect the Loss, and

     ^     was provided information necessary to investigate the claim.
     J


     X            20.    Allstate, its agents, servants and/or employees, are governed by the regulations

     3     promulgated by the Superintendent of Insurance of the New York State Insurance Department,
     z
     5     as set forth in 11 NYCRR §216, et. seq., and under provisions of New York Insurance Law

           §2601, which prohibits unfair claim settlement practices.

                  21.   The New York Insurance Law prohibits and/or requires certain actions by

           insurers, their agents and representatives, and conduct by their insurers, their agents, and

           representatives who, deviating from the following rules of play, are deemed to have engaged in

           unfair claim settlement practices, as enumerated under Insurance Law §2601; (a) insurers

           may not fail to adopt and implement reasonable standards for the prompt investigation of

                                                               3




                                                      4   Of   11
                Case 5:17-cv-00825-GTS-DEP Document 1-1 Filed 07/26/17 Page 8 of 14


                                                                                                  INDEX NO. 2017EF27i;2
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NYSCEF       DOC. NO. 1                                                                  RECEIVED NYSCEF: 06/30/20:.7




               claims arising under their policies: (b) insurers may not fail to attempt in good faith to effectuate

               prompt, fair and equitable settlements of claims submitted in which liability has become

               reasonably clear; (c) insurers may not compel policyholders to institute suits to recover

               amounts due under the policies by denying coverage and/or offering substantially less than the

               amounts ultimately recovered in suits by them.

                      22.    Allstate created estimates for damages for the Loss.

                      23.    Allstate refused to provide a copy of its estimates to the Plaintiffs in violation of

               the Insurance Law.
         O

         I            24.    Allstate created "subpoenas" with a caption of "ALLSTATE INSURANCE

         i
         u
               COMPANY v. CHARLES VALENTINE and BERTHA HOLLOWAY" with a venue of New York
     >
     10        State Supreme Court, Onondaga County.
     3
         <           25.     These subpoenas were served by Allstate on third parties during Allstate's claim
     s
     | investigation.
     t

     Q.              26.     At the time Allstate served these subpoenas, there was no lawsuit. The action

    | identified in the caption of these subpoenas does not exist. These subpoenas were unlawful.
     $
     3               27.     The subpoenas were signed and served by Allstate and/or its representatives in

     5        an effort to deceive third parties and Plaintiffs during the claim investigation. Allstate knew or

              should have known that these were unlawful subpoenas.

                     28.     The unlawful subpoenas constitute fraud, misrepresentation and untruthful action

              by Allstate.

                     29.     The unlawful actions by Allstate during this claim should shock the conscience of

              every member of the public.



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                                                          S of 11
          Case 5:17-cv-00825-GTS-DEP Document 1-1 Filed 07/26/17 Page 9 of 14



IFILEI: ONONDAGA COUNTY CLERK 06/30/2017 11:38 AMI                                         INDEX NO. 2017EF2752
NYSCEF DOC. NO. 1                                                                  RECEIVED NYSCEF: 06/30/20L7




                                            ALLSTATE'S DISCLAIMER

                30,    By letter dated November 23, 2016, Allstate notified Plaintiffs that it had

          completed its investigation, and made a decision to deny coverage for this Loss.

                31.    Allstate denied coverage based on:

                       AGREEMENTS WE MAKE WITH YOU
                       Misrepresentation, Fraud Or Concealment
                       We have the right to cancel or non-renew this policy if it was obtained by material
                       misrepresentation, fraud or concealment of material facts, or if you intentionally
                       conceal any material fact or circumstance before or after a loss.

                       Furthermore, we do not cover you or any other person insured under this policy
      Y

      O                who has concealed or misrepresented any material fact or circumstance, before
     2                 or after a loss.
     w
     u
                       SECTION I - YOUR PROPERTY
     >

                       D.      Under Dwelling Protection-Coverage A and Other Structures Protection-
     3
                       Coverage B of this policy, we do not cover any loss consisting of or caused by
     5                 one or more of the following excluded events, perils or conditions. Such loss is
     in
     w                 excluded regardless of whether the excluded event, peril or condition involves
     a                 isolated or widespread damage, arises from natural, man-made or other forces,
     t                 or arises as a result of any combination of these forces.
     a.
                       3.     Intentional or criminal acts of or at the direction of any insured person, if
     X                 the loss that occurs:
     5
                       a)     may be reasonably expected to result from such acts; or
                       b)     is the intended result of such acts.
                       943 414 782, p. 11
     >

                       SECTION I CONDITIONS (APPLICABLE TO COVERAGES A, B AND C)

                      10.    Our Rights To Recover Payment
                      When we pay for any loss, an insured person's right to recover from anyone else
                      becomes ours up to the amount we have paid. An insured person must protect
                      these rights and help us enforce them. You may waive your rights to recover
                      against another person for loss involving the property covered by this policy.
                      This waiver must be in writing prior to the date of loss
                      943 414 782, p. 23




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                                                    6 of 11
           Case 5:17-cv-00825-GTS-DEP Document 1-1 Filed 07/26/17 Page 10 of 14



IFILEE: ONONDAGA COUNTY CLERK 06/30/2017 11:38 AMI                                           INDEX NO. 2017EF27 >2
NYSCEF 30C. NO. 1                                                                   RECEIVED NYSCEF: 06/30/20 .7




                   32.   Allstate had previously insured the Insured Premises on behalf of a prior owner

            and provided insurance coverage for a prior fire loss at the Insured Premises ("prior loss").

                  33.    Allstate was aware of the prior loss and the condition of the Insured Premises at

            the time it issued insurance coverage for the Insured Premises.


                AS AND FOR A FIRST CAUSE OF ACTION IN BREACH OF CONTRACT AGAINST
                                             ALLSTATE

                  34.    Plaintiffs repeat and reallege the allegations contained in Paragraphs "1" through

           "33" above as though fully restated here.
      *
     O

     I            35.    Plaintiffs have fully complied with all terms, conditions, duties and obligations
     ui
     =     under the Policy.
     <

     (?)
                  36.    The Loss of January 3, 2016 was a Covered Cause of Loss.
     3
     <            37.    Allstate's disclaimer was wrongful.
     L0

     Z
     g            38.    Allstate has breached its obligations to provide insurance coverage under the
     K



     ^     Policy, and has unilaterally breached its covenant of good-faith and fair dealing implied in its
     J
     -I

    | Policy by deliberately, negligently, unlawfully and wrongfully mishandling Plaintiffs' claim
     U.

     <     including by issuing fraudulent subpoenas and deliberately, negligently and wrongfully delaying
     Z

     5     payment of Plaintiffs' claim for coverage for damage at the Premises.

                  39.    As a result of Allstate's breach of its obligations under the Policy, Plaintiffs have

           suffered direct damages in an amount to be proven at trial.

                  40.    As a result of Allstate's wrongful disclaimer, Plaintiffs are entitled to an award of

           direct and consequential damages against defendants in such amounts as are established by

           the evidence, as well as interest, post-judgment interest, costs, and any other fees and

           disbursements to which Plaintiffs may also legally be entitled.

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                                                      7 of 11
          Case 5:17-cv-00825-GTS-DEP Document 1-1 Filed 07/26/17 Page 11 of 14


(FILED; ONONDAGA COUNTY CLERK 06/30/2017 11:38 AMI                                      INDEX NO. 2017EF27 >2
 NYSCEF DOC. NO. 1                                                               RECEIVED NYSCEF: 06/30/20L7



             AS AND FOR A SECOND CAUSE OF ACTION IN WAIVER AND ESTOPPEL AGAINST
                                         ALLSTATE

                 41.    Plaintiffs repeat and reallege the allegations contained in Paragraphs "1" through

          "40" above as though fully restated here.

                 42.    Allstate's claim investigation and settlement behavior violated regulations

          promulgated by the Superintendent of Insurance of the New York State Insurance Department,

         as set forth in 11 NYCRR §216, at. seq., and under provisions of New York Insurance Law

         §2601. Among other things, Allstate failed to promptly inform insured of the coverage

    | decision, falsified documents, misrepresented the facts and circumstances of the claim, failed
    5                                        ,
    ^ to comply with New York State Law, knew the facts and circumstances of the condition and
    W
    u
    2    history of the Insured Premises at the time it issued/renewed the Policy, committed fraud, and

    *    failed to conduct a truthful and suitable investigation.
    H

    >
    Ui          43.    Allstate waived any disclaimer by, among other things, engaging in behavior that
    a

    ^    was unlawful, misrepresenting its knowledge of the Insured Premises and the facts and
    Q.

    J    circumstances of its investigation of the claim, engaging in inequitable conduct, and sharing
    2
    C

    ^    false information.
    3
                44.    Plaintiffs reasonably relied on Allstate to perform an investigation in compliance

         with the Policy, the Insurance Law and Regulations, New York State Law, and that Allstate's

         actions would be truthful and suitable in ail regards.

                45.    Plaintiffs were injured by this reliance.




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                                                    8 Of 11
           Case 5:17-cv-00825-GTS-DEP Document 1-1 Filed 07/26/17 Page 12 of 14


                                                                                            INDEX NO. 2017EF27 i2
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 NYSCEF X)C. NO. 1                                                                  RECEIVED NYSCEF: 06/30/20.7




           AS AND FOR A THIRD CAUSE OF ACTION FOR DECLARATORY JUDGMENT AGAINST
                                          ALLSTATE

                 46.     Plaintiffs repeat and reallege the allegations contained in Paragraphs "1" through

          MS" above as though fully restated here.

                 47.     In disclaiming coverage, Allstate failed to recognize that the Loss was covered by

          the Policy.

                 48.     In disclaiming coverage, Allstate set forth its own findings, which were and are

          inaccurate, in whole or in part, and did not provide a proper basis for denying coverage under

      §   the Policy.
     >•

     t
                 49.     Allstate's decision to disclaim coverage lacks any basis in fact or law.
     u
     fc          50.     By reason of the foregoing, an actual and justifiable controversy exists between

     s    Plaintiffs and Allstate regarding payment for the Loss at the Insured Premises because Allstate

     1    has refused to recognize applicable contract terms and perform as obligated under the Policy.
     7.

     o
                 51.     Plaintiffs seek a judicial declaration by the Court: (i) that coverage for the loss at
     Q.
     J    the Premises referenced herein is provided under the Policy; (ii) that Plaintiffs' loss at the
     2
     cc
    | Insured Premises are not excluded from coverage; and, (iii) that Allstate's actions during the
   I
   3
     z    claim investigation were unlawful.
    I
                 52.     As a direct and proximate result of the practices and acts of Allstate as described

          in this verified complaint. Plaintiffs have incurred losses and damages in an amount that

          exceeds all jurisdictional limits of this Court.




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                                                      9 of 11
            Case 5:17-cv-00825-GTS-DEP Document 1-1 Filed 07/26/17 Page 13 of 14


IFILEE: ONONDAGA COUNTY CLERK 0 6/3 0/2 017 11:38 AMI                                      INDEX NO. 2017EF27I12
NYSCEF DOC. NO. 1                                                                   RECEIVED NYSCEF: 06/30/20:7



                  WHEREFORE, plaintiffs demand judgment be entered against the defendants, jointly

           and/or severally, for the following relief:

                             a. Compensatory and consequential damages
                                arising out of the Loss in excess of
                                $100,000.00;

                             b. A judgment enforcing the Policy and declaring
                                that Allstate is obligated to provide coverage
                                for all damages arising from the Loss, including
                                costs and interest;

                             c. Applicable interest from the date of loss, date
      jg
                                of disclaimer or such other date as the Court
      O                         deems just and proper; and,
      2
      Z
                             d. For such other and further relief as this Court
      U
                                deems just and proper.
      EC




     ^     Dated: June 30, 2017
     5            Syracuse, New York
     >
     UJ

     a
     t
                                                                          •


     Q.                                                             Martin A. Lynn ^gfq.
                                                                                   ^j


                                                                    LYNN LAW FIRM LLP
    QC                                                              Attorneys for Plaintiffs
    5                                                               M&T Bank Building, Suite 750
    3                                                               101 South Salina Street
                                                                    Syracuse. NY 13202
                                                                    Telephone: (315)474-1267




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                                                         10 of 11
           Case 5:17-cv-00825-GTS-DEP Document 1-1 Filed 07/26/17 Page 14 of 14


IFILEI: ONONDAGA COUNTY CLERK 06/30/2017 11:38 AMI                                        INDEX NO. 2017EF27 >2
NYSCEF DOC. NO. 1                                                                   RECEIVED NYSCEF: 06/30/20L7




                                                     INDIVIDUAL VERIFICATION


           STATE OF NEW YORK )
                             ) ss:
           COUNTY OF ONONDAGA)


                  Charles Valentine and Bertha Holloway, being duly sworn, say that they are the plaintiffs

           in the above-named proceeding and that the foregoing Summons and Verified Complaint is true

          to the best of their knowledge, except as to matters therein stated to be alleged upon information

           and belief, and as to those matters, they believes them to be true.
      *

      O

      5                                                                    Ki
                                                                     Charles Valentine
     w

     <    Sworn to before me this
     s
                day of ..V-MJl . 2017


     !2
     m
          Notary Public
     a                    JENNA L BEAK
                 Notary Public, State of New Yortt

                                                                               $.hsJlidi,/)/!.
     t
                        No. 01BEe331534
     a.
                  Qualified (n Onondaga County-,
                 Commission Expires 10/13/20 v \
                                                                       ]   L
     -i
                                                                     Bertha Holloway
     K
     ^    Sworn to before me this
    Ij    Z.^ day of           , 2017.


          I^tary Public
                         JENNA L BEAK
                Notary Public. State of New Yortt
                       No 01BES331534
                 Qualified in Onondaga Counlyi.
                Commission Expires 10;i3/20t l




                                                          11 of 11
